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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 KURT RAMLO (State Bar No. 166856)
 JEFFREY S. KWONG (State Bar No. 288239)                                                                 FILED & ENTERED
 LEVENE, NEALE, BENDER, YOO & BRILL
 L.L.P.
 10250 Constellation Boulevard, Suite 1700                                                                       MAY 25 2018
 Los Angeles, California 90067
 Tel: (310) 229-1234; Fax: (310) 229-1244                                                                  CLERK U.S. BANKRUPTCY COURT
 Email: KR@LNBYB.com; JSK@LNBYB.COM                                                                        Central District of California
                                                                                                           BY bakchell DEPUTY CLERK
 Attorneys for Swing House Rehearsal and
 Recording, Inc., Debtor and Debtor in Possession
                                                                                                CHANGES MADE BY COURT
     Individual appearing without attorney
     Attorney for: Swing House Rehearsal and Recording

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:16-bk-24758-RK

 SWING HOUSE REHEARSAL AND RECORDING, INC.,                                  CHAPTER: 11

                                                                             ORDER:
                                                                                    GRANTING APPLICATION AND SETTING
                                                                                    HEARING ON SHORTENED NOTICE
                                                                                    DENYING APPLICATION FOR ORDER
                                                                                    SETTING HEARING ON SHORTENED
                                                                                    NOTICE
                                                                                             [LBR 9075-1(b)]
                                                              Debtor(s).

 Movant (name): Swing House Rehearsal and Recording, Inc.



1. Movant filed the following motion together with supporting declarations and (if any) supporting documents:

    a. Title of motion: Emergency Motion for Turnover of Property of the Estate and Books and Records Relating to
       Property of the Estate (from Jonathan Mover and Genoveva Winsen)

    b. Date of filing of motion: May 26, 2018

2. Pursuant to LBR 9075-1(b), movant also filed an Application for Order Setting Hearing on Shortened Notice
   (Application) together with supporting declaration(s):

    Date of filing of Application: N/A

3. Based upon the court’s review of the application, it is ordered that:

    a.        The Application is denied. The motion may be brought on regular notice pursuant to LBRs.

    b.        The Application is granted, and it is further ordered that:

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        (1)         A hearing on the motion will take place as follows:


                Hearing date: May 29, 2018                  Place:
                Time: 1:30 p.m.                                 255 East Temple Street, Los Angeles, CA 90012
                                                                21041 Burbank Boulevard, Woodland Hills, CA 91367
                Courtroom: 1675
                                                                3420 Twelfth Street, Riverside, CA 92501
                                                                411 West Fourth Street, Santa Ana, CA 92701
                                                                1415 State Street, Santa Barbara, CA 93101

        (2)         No later than the deadlines given, telephonic notice of the hearing must be provided to all
                    persons/entities listed:

                (A) Deadlines:                         (B) Persons/entities to be provided with telephonic notice:
                Date: May 25, 2018
                                                          Steve Fox, counsel for Jonathan Mover
                Time: 6:00 p.m.                           Genoveva Winsen
                                                          Gouya Ranekouhi, non-bankruptcy counsel for Genoveva Winsen
                                                          Greg Gartland, counsel for the D’Addario creditors
                                                          Michael Good, counsel for 7175 WB, LLC
                                                          Leonard Pena, counsel for Philip Jaurigui

                                                                See attached page
                                                       (C) Telephonic notice is also required upon the United States trustee


        (3)         No later than the deadlines given, written notice of the hearing and a copy of this order must be
                    served upon all persons/entities listed using:       one of the methods checked         all of the
                    methods checked

              (A)        Personal Delivery             Overnight Mail                First class mail               Facsimile*              Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written notice and a copy of this
                                                           order:
                Date: May 26, 2018

                Time: 12:00 p.m.                          Steve Fox, counsel for Jonathan Mover
                                                          Genoveva Winsen
                                                          Gouya Ranekouhi, non-bankruptcy counsel for Genoveva Winsen
                                                          Greg Gartland, counsel for the D’Addario creditors
                                                          Michael Good, counsel for 7175 WB, LLC
                                                          Leonard Pena, counsel for Philip Jaurigui

                                                                See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (by first class mail - electronic service is not
                                                              permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)




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        (4)       No later than the deadlines given, a copy of the motion, declarations, and supporting documents (if any),
                  must be served on all persons/entities listed using:        one of the methods checked       all of the
                  methods checked
              (A)      Personal Delivery       Overnight Mail          First Class Mail        Facsimile*      Email*

                (B) Deadlines:                         (C) Persons/entities to be served with motion, declarations, supporting
                                                           documents:
                    Date: May 26, 2018

                    Time: 12:00 p.m.                      Steve Fox, counsel for Jonathan Mover
                                                          Genoveva Winsen
                                                          Gouya Ranekouhi, non-bankruptcy counsel for Genoveva Winsen
                                                          Greg Gartland, counsel for the D’Addario creditors
                                                          Michael Good, counsel for 7175 WB, LLC
                                                          Leonard Pena, counsel for Philip Jaurigui

                                                              See attached page
                                                       (D) Service is also required upon:
                                                           -- United States trustee (by first class mail - no electronic service
                                                              permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (5)         Regarding opposition to the motion

                    opposition to the motion may be made orally at the hearing

                    no later than the deadlines given, written opposition to the motion must be filed with the court and
                    served upon all persons/entities listed using:     one of the methods checked           all of the methods
                    checked
              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*

                (B) Deadlines:                         (C) Persons/entities to be served with written opposition to the motion:
                    Date:                                  -- movant’s attorney (or movant, if movant is not represented by an
                                                              attorney)
                    Time:




                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s copy personally delivered to chambers
                                                              (see Court Manual for address)


        (6)         Regarding a reply to an opposition:

                    a reply to opposition may be made orally at the hearing.

                    no later than the deadlines given, a written reply to an opposition must be filed with the court and
                    served on all persons/entities listed using:        one of the methods checked           all of the methods
                    checked

              (A)           Personal Delivery         Overnight Mail              First Class Mail                Facsimile*                Email*
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                (B) Deadlines:                         (C) Persons/entities to be served with written reply to opposition:
                 Date:                                     -- All persons/entities who filed a written opposition

                 Time:



                                                       (D) Service is also required upon:
                                                           -- United States trustee (electronic service is not permitted)
                                                           -- Judge’s Copy personally delivered to chambers
                                                              (see Court Manual for address)


        (7)       Other requirements:




        (8)       No later than the deadlines given, movant must file a Declaration of Notice and Service establishing
                  that telephonic notice, written notice, and service of the motion and this order was completed as set forth
                  above, and a judge’s copy of the Declaration of Notice and Service must be personally delivered to the
                  judge’s chambers:

                         at least 2 days before the hearing.

                         no later than:         Date: May 29, 2018                 Time: 1:30 p.m.



    * Service by electronic means (facsimile or email) requires compliance with F.R.Civ.P. 5(b)(2)(E).

                                                                        ###




                Date: May 25, 2018




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